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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,                   )
                                            )
              v.                            )       Docket No. 18-CR-10391-RGS
                                            )
DEREK SHEEHAN,                              )
                                            )
              Defendant.                    )


 GOVERNMENT’S RESPONSE TO DEFENDANT’S SUPPLEMENTAL MEMORANDUM
        AND REPLY TO THIS COURT’S SEPTEMBER 20, 2019 ORDER


       Now comes the United States, by and through the undersigned Assistant United States

Attorney, and hereby files its supplemental opposition to the defendant’s Motion to Suppress

Evidence Seized Pursuant to Search Warrants. For the reasons discussed in the government’s

previously-filed Omnibus Response to the defendant’s motions and those discussed in greater

detail below, this Court should DENY the motions.

                                      BACKGROUND

       On June 14, 2019, defendant Derek Sheehan filed a motion to suppress evidence seized

pursuant to two state court-issued search warrants (Doc. 57) and a motion for a Franks hearing

(Doc. 58). In the motion to suppress, the defendant contended that: 1) the first search warrant

lacked probable cause to believe that the defendant committed any crime and that fruits of those

crimes would be found at his home; 2) the first warrant was unconstitutionally overbroad; 3) the

seizure of the defendant’s iPhone from his wife was not authorized by the first warrant; 4) the

search executed pursuant to the first warrant was executed overbroadly; and 5) the second search

warrant lacked probable cause.
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       The government filed an omnibus response to the motions on July 24, 2019. Doc. 66. In

its response, the government argued that: 1) the affidavit established probable cause to believe that

a crime had been committed and that evidence, fruits, and instrumentalities of that crime would be

located at the defendant’s residence; 2) the first warrant was not unconstitutionally overbroad; 3)

the first warrant was not executed overbroadly; 4) the second warrant was properly issued, where

it established probable cause to believe the specified items would contain evidence of child

pornography; and 5) that the defendant made no showing, let alone a substantial one, to necessitate

a Franks hearing.

       Following a hearing on September 20, 2019, this Court denied the defendant’s motions

without prejudice, ordering additional briefing from the parties regarding “whether the affidavit

supporting the warrant established probable cause under federal law for the search(es).” Doc. 73,

Memorandum and Order.

       The defendant filed a Supplemental Memorandum and Reply to this Court’s September 20,

2019 Order on October 7, 2019. Doc. 82. In that filing, the defendant argues alternatively that: 1)

state law is relevant to the analysis of whether the warrant supplied probable cause to believe that

he committed the alleged state crimes, and 2) if state law is not relevant, evaluating the warrant

for probable cause for analogous federal crimes demonstrates there was not probable cause. For

the reasons discussed in the government’s Omnibus Response (Doc. 66) and expanded upon

below, this Court should DENY the defendant’s Motion to Suppress Evidence Seized Pursuant to

Search Warrants and Motion for a Franks Hearing.




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                                            DISCUSSION

I.       The issuing magistrate had a substantial basis to conclude, under the totality of the
         circumstances, that Puricelli’s affidavit demonstrated a fair probability that evidence
         of a crime would be found in the defendant’s home.

         A.      The federal standard of review

         The threshold issue to address in considering the defendant’s motion to suppress is the

standard a district court should use in evaluating the sufficiency of probable cause supplied in a

state-issued search warrant.       Probable cause is determined in light of the totality of the

circumstances; the ultimate question is whether the affidavit demonstrated a fair probability that

evidence of a crime would be found pursuant to the warrant. See Illinois v Gates, 462 U.S. 216,

230, 238 (1983). Gates does not define “fair probability;” “therefore, it appears that there is no

threshold evidentiary standard which establishes fair probability that criminal evidence will be

located in a particular area.” See Peter J. Kocoras, 42 DePaul Law Review 1413, 1427 n.103

(1993). However, the First Circuit has made clear that “[t]he standard of probable cause requires

a probability, not a prima facie showing, of criminal activity.” United States v. Burke, 999 F.2d

596, 599 (1st Cir. 1993) (citing United States v. Ciampa, 793 F.2d 19, 22 (1st Cir. 1986)). See

also United States v. Mitro, 880 F.2d 1480, 1485 n.7 (1st Cir. 1989).

         In reviewing an issuing magistrate’s finding of probable cause, a district court analyzes

whether a magistrate would have had a substantial basis to find that this federal probable cause

standard was met. See, e.g., United States v. Rosario, 810 F. Supp. 2d 375, 385 (D. Mass. 2011)

(citing Gates, 462 U.S. at 238-39). 1 Probable cause is a “practical, nontechnical conception,”


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     The defendant asks this Court to engage in a much more exacting analysis that looks to the
     elements of the crimes as developed in state jurisprudence, see Def.’s Supp. Mem. at 2-3 (re-
     raising arguments made in Doc. 57). In its Omnibus Response to the defendant’s original
     filings, the government also looked to state jurisprudence interpreting the specific state
     violations alleged in the affidavit to ground its reply, but acknowledges that this Court need not
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Gates, 462 U.S. at 231 (citing Brinegar v. United States, 338 U.S. 160, 176 (1949)), and affidavits

should be evaluated under the totality of the circumstances in a “common sense manner,” United

States v. Syphers, 426 F.3d 461, 465 (1st Cir. 2005) (internal quotations omitted). By contrast,

“hypertechnical readings should be avoided.” Id. (citing United States v. Baldyga, 233 F.3d 674 at

683 (1st Cir. 2000) (quoting United States v. Bonner, 808 F.2d 864, 868 (1st Cir. 1986)).

Inferences are permissible, United States v. Falon, 959 F.2d 1143, 1147 (1st Cir. 1992) (citing

United States v. Hershenow, 680 F.2d 847, 852 (1st Cir. 1982), but wholly conclusory statements

in an affidavit are insufficient, see Gates, 462 U.S. at 239. In sum, the totality of the circumstances

analysis is quite flexible and permits the issuing magistrate to make a common-sense judgment.

       The role of the federal district court reviewing a state-issued warrant that has been

challenged for lack of probable cause is simply to determine whether a reasonable magistrate

would have had a substantial basis for concluding that there was probable cause, pursuant to the

standard outlined above. To establish probable cause, the facts presented in the affidavit “need

only warrant a man of reasonable caution to believe that the evidence of a crime will be found.”

United States v. Feliz, 182 F.3d 82, 86 (1st Cir. 1999) (internal quotation omitted). The fact that

this is a reasonable person standard highlights that “[t]he probable-cause standard is a practical,

nontechnical conception that deals with the factual and practical considerations of everyday life

on which reasonable and prudent men, not legal technicians, act.” Maryland v. Pringle, 540 U.S.

366, 370 (2003) (citing Gates, 462 U.S. at 231). As reviewing courts, “both the district court and

the court of appeals must accord considerable deference to the probable cause determination made

by the issuing magistrate.” United States v. Zayas-Diaz, 95 F.3d 105, 111 (1st Cir. 1996) (internal




   engage in that level of analysis to find, under the deferential, fact-focused standard used in
   federal courts, that the warrants here were supported by sufficient probable cause.

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citations omitted). Again, the probable cause need not be sufficient to prove guilt in a criminal

trial. See Brinegar v. United States, 338 U.S. 160, 173 (1949).

        Where the defendant alleges a lack of probable cause, the key issue 2 for this Court to decide

is “whether the affidavit supporting the warrant established probable cause under federal law for

the searches,” Mem. and Order at 3. See also United States v. Mitro, 880 F.2d 1480, 1485 (1st

Cir. 1989) (citing United States v. Sellers, 483 F.2d 37, 43 (11 Cir. 1973), cert. denied, 417 U.S.

908 (1974)) (“The products of a search conducted under the authority of a validly issued state

warrant are lawfully obtained for federal prosecutorial purposes if that warrant satisfies

constitutional requirements and does not contravene any Rule-embodied policy designed to protect

the integrity of the federal courts or to govern the conduct of federal officers.”).

        The defendant relies primarily on United States v. Cordero-Rosario, 786 F.3d 64 (1st Cir.

2015) to argue that this Court should look to state case law interpreting the warrant affidavit’s

target offenses. The First Circuit’s opinion, however, actually shows that while indeed the

question of probable cause must be tied to the crimes alleged in the warrant—state crimes—a

reviewing federal court does not delve into the details of the elements of those state crimes, but

instead focuses on the facts as presented to the issuing magistrate in the affidavit. 3 The First



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    Many published cases in which a federal court reviews a state-issued search warrant relate to
    deficiencies not at issue in the present case. For example, the deficiency may be that the warrant
    contravened state statutory law. See, e.g., United States v. Quinones, 758 F.2d 40, 43 (1st Cir.
    1985) (“it is well settled that in federal prosecutions evidence admissible under federal law
    cannot be excluded because it would be inadmissible under state law”). Or, a defendant may
    allege that a warrant violates a federal procedural requirement. See, e.g., United States v. Soule,
    908 F.2d 1032, 1034 (1st Cir. 1990); United States v Krawiec, 627 F.2d 577, 581-82 (1st Cir.
    1980). In the present case, there is no contention that the search warrant violated a state law or
    contravened any procedural aspects of Rule 41. As relevant here, the defendant challenges only
    the sufficiency of probable cause.
3
    The defendant also cites Wright v. City of Philadelphia, 409 F.3d 595, 602 (3rd Cir. 2005) for
    the proposition that: “Whether any particular set of facts suggests that an arrest is justified by
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Circuit in Cordero-Rosario, reviewing the denial of a motion to suppress, considered the facts as

set out in the affidavit and found that the affidavit failed to supply probable cause because it

“supplied no basis for connecting the pornography that was the object of the search to [the target

offense, lewd acts with a minor], which, in its nature, does not necessarily involve the use of

pornography at all.” 786 F.3d at 70. The affidavit failed to establish probable cause because it

“was conclusory to all the key points concerning the nexus.” 786 F.3d at 71. Puricelli’s affidavit,

by contrast, includes a sufficient factual basis—devoid of conclusory statements not reasonably

inferred from the evidence—to establish probable cause for the warrant.

        B.      Factual analysis of the target offenses

        A common-sense, totality of the circumstances review of Puricelli’s affidavit demonstrates

that the issuing clerk magistrate had a substantial basis to conclude that there was a “fair

probability” that evidence, fruits, and instrumentalities of the four state crimes alleged therein

would be found pursuant to the first warrant. 4 For the reasons that follow, which the government

reiterates from its Omnibus Response, the government urges this Court not to disrupt the issuing

clerk magistrate’s determination of probable cause.

                1.       Impersonation of a Police Officer

        As described in the government’s Omnibus Response at pages 3-6, the affidavit details the

defendant’s scheme to divert attention from himself as a target of investigation by impersonating



    probable cause requires an examination of the elements of the crime at issue.” However, that
    case concerned probable cause for an arrest, not a search warrant. Additionally, this specific
    proposition in this case is not cited by the First Circuit, and is only cited a few times in the Third
    Circuit and once by the DC Circuit, all in cases related to arrests, not search warrants, see, e.g.,
    Wesby v. District of Columbia, 816 F.3d 96, 98 (2016).
4
    The government relies on and incorporates herein its summary of the facts presented to the clerk
    magistrate, as outlined in its Omnibus Response at pages 1-8, which cited extensively to the
    affidavit. All of the facts mentioned herein are drawn from that recitation.

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a police officer and fabricating a State Police report. More specifically, the affidavit lays out a

scheme by which the defendant attempted to divert attention from himself as the target of a real

investigation by assuming the identity of Norwell Police Officer Rick Phelps. Central to the

scheme was the defendant’s creation of an email address in the officer’s name, which he used to

impersonate the real Phelps in a fake conversation over email with himself. A fair reading of the

facts outlined in Puricelli’s affidavit leads to the conclusion that the defendant fabricated the

Massachusetts State Police report to help pull off the ruse. He showed the fraudulent email

conversations and report to multiple individuals who had some stake in the matter—such as Minor

A’s parents and Minor C’s parents—and talked about it to others. Focusing on the affidavit in a

common-sense manner, these facts provide a substantial basis for the issuing magistrate to have

concluded that there was probable cause to believe that evidence of the defendant impersonating

a police officer would be found in the defendant’s home.

               2.     Witness Intimidation

       The affidavit also supplied sufficient information for the issuing magistrate to have found,

under the totality of the circumstances, that there was a fair probability the search warrant would

unearth evidence that the defendant violated the Massachusetts witness intimidation statute.

       Here, the affidavit shows that the defendant fabricated the State Police report for the sole

purpose of diverting investigatory focus from himself once he realized (by gaining unauthorized

access to Minor A’s text messages) that Minor A and his friends might be talking about his alleged

assault of Minor A. He then circulated that fraudulent report—along with a fabricated chain of

emails that he concocted—to make it seem as if “rumors” about him were investigated and cleared.

The only conceivable reason for doing so is to mislead potential witnesses from the truth, to

prevent a real investigation from uncovering his illegal conduct. Just a few months after the



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defendant engaged in those preliminary efforts, the defendant apparently realized that his plan had

failed. The fair inference is that then, his wife reached out to Minor B’s mother, arguably on his

behalf, to alert her that there was an active investigation targeting the defendant for crimes against

one of her son’s friends. Nichole Sheehan told Minor B’s mother that the police were lying, urged

her not to believe them, and the defendant joined in – for the sole purpose of misleading the

investigation.

       A common-sense consideration of these facts, in the totality of the circumstances, shows

that the magistrate had a substantial basis upon which to find probable cause.

                 3.    Unauthorized Access to a Computer

       The facts in the affidavit further show that the issuing magistrate had a substantial basis to

find there was a fair probability that evidence of unauthorized access to a computer would be found

pursuant to the execution of the warrant. The affidavit established that Minor A had an Apple

account that was password-protected, that the defendant logged into that account without Minor

A’s knowledge or consent, and that he did so using computer devices from his home. The

defendant was not authorized to access Minor A’s account. The defendant’s argument to the

contrary is unavailing. Regardless of whether Minor A realized that the defendant had his login

information, the defendant was not authorized to access his account, which is plainly obvious given

the purpose for which witnesses accused him of doing so: to spy on Minor A. In the totality of

the circumstances, Puricelli’s affidavit established a fair probability that evidence of this crime

would be found in the place to be searched.

                 4.    Identity Fraud

       The issuing magistrate also had probable cause to believe that evidence of identity fraud

would be found pursuant to the execution of the warrant, based on a common-sense reading of the



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affidavit. The facts in the affidavit establish that when the defendant posed as Officer Rick Phelps,

as outlined above, he did so specifically to avoid prosecution (or, at least, scrutiny from law

enforcement). 5 A common-sense reading of the statute supports the argument that attaining that

goal would surely qualify as something of value, even if the state of Massachusetts law regarding

the sufficiency of evidence to prove this crime had changed just prior to the issuance of the search

warrant. See Zayas-Diaz, 95 F.3d 105, 111 (“Given the strong preference for warrants under our

Fourth Amendment jurisprudence, normally a reviewing court will defer to an issuing magistrate’s

‘probable cause’ determination in a doubtful or marginal case.”). A deferential review of the facts

presented to the magistrate shows that the affidavit established probable cause to believe that

evidence of the crime would be found in the defendant’s home.

        C.      The good-faith exception

        Rather than restate it here, the government incorporates its previously-articulated argument

that even if this Court finds the issuing magistrate erred in issuing the warrant, the motion to

suppress must be denied because the officers executing the warrant acted in objectively reasonable

reliance on it, and suppression is inappropriate under the Leon good-faith exception. See Gov.

Omn. Resp. at 16-18.

        D.      Analysis of analogous federal crimes

        The defendant’s attempt to engage this Court in an analysis of whether Puricelli’s affidavit

supplied probable cause for federal correlates of the state crimes at issue misses the mark. The

defendant cites no authority to support such an undertaking. To the contrary: where the defendant


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    The defendant’s plan was convoluted; he fabricated the emails and State Police report to
    convince the parents in his orbit that he had already been investigated and cleared so that, if
    Minor A or one of his friends did disclose his true crime, the parents would mistakenly believe
    that it had already been dealt with, and would thus be discouraged from sharing information
    with the police.

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was not under investigation for federal offenses at the time the affidavits were filed, “the question

that matters with respect to the adequacy of the [affidavit] is not… whether the affidavits supported

a search for evidence of the federal child pornography offense – which the affidavits did not

purport to show. The question is whether the affidavits provided a substantial basis for concluding

that probable cause existed that evidence of the [state crimes] would be found.” United States v.

Cordero-Rosario, 786 F.3d 64, 69 (1st Cir. 2015) (internal quotations omitted). As such, the

government does not respond to the arguments the defendant makes regarding whether the

affidavit established probable cause to believe evidence of federal crimes would be found in the

residence, which were not the target offenses identified in the warrant.

II.    The issuing magistrate had a substantial basis to conclude that the second warrant
       supplied probable cause because under the totality of the circumstances, the affidavit
       demonstrated there was a fair probability that evidence of child pornography would
       be found in the places to be searched.

       Although the defendant did not reiterate an objection to the probable cause for the second

warrant in his supplemental memorandum and reply, the government refocuses its response to the

argument below based on the Court’s comments in its Memorandum and Order.

       The defendant contends that because the affidavit did not include a copy of the purported

photograph constituting child pornography, there could be no finding of probable cause to believe

that additional evidence of child pornography would be found in the digital devices in evidence.

As the government noted in its Omnibus Response, the First Circuit’s preferred practice of

attaching a photo to an affidavit submitted in support of an application to search for child

pornography, see United States v. Brunette, 256 F.3d 14, 20 (1st Cir. 2001), applies to issuing

federal judges and not an issuing state clerk magistrate. See United States v. Morel, 922 F.3d 1,

21-22 (1st Cir. 2019) (“The ‘best practice’ language in LaFortune is not applicable here in any

event because the warrant was issued by a state court. The ‘best practice’ judicial gloss cannot be

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imposed onto state courts. The question before us is simply whether the affidavit was supported

by probable cause to believe the girls depicted in the images were under eighteen years old.”). But

see United States v. Syphers, 426 F.3d 461 (1st Cir. 2005) (upholding state-issued warrant based

on good-faith exception, but citing Brunette, 256 F.3d at 20, in noting that best practice is to append

or specifically describe images). Even if this Court were to find that the “best practice” should

apply here, the federal standard for probable cause is still one of “fair probabilities” given the

totality of the circumstances described in the affidavit. Under that rubric, it is clear that the issuing

magistrate had a substantial basis on which to find probable cause that evidence of child

pornography would be found.

        The description of the child pornography viewed by Trooper Hart as stated in the affidavit

was sufficient for the magistrate to determine there was a fair probability that, given the totality of

the circumstances, evidence of child pornography would be found pursuant to the warrant. The

description conveyed that Trooper Hart observed pictures he believed depicted child pornography,

which he described as consisting of images of prepubescent penises that lacked pubic hair. See

Gov. Omn. Resp. at 7-8 (citing SW36 Aff. ¶ 4(b)(3)).              This description, even without an

accompanying copy of the image, is sufficient to establish probable cause. See, e.g., United States

v. Morel, 2017 U.S. Dist. LEXIS 57969, 23-24 (D. N.H. 2017), aff’d United States v. Morel, 922

F.3d 1 (1st Cir. 2019) (“Describing children as ‘prepubescent’ or ‘early pubescent’ can establish

probable cause that the images in question depict child pornography… Such terms clearly need no

elaboration because they connote physical attributes (such as under-or non-developed sex organs

or breasts, lack of pubic hair, and juvenile muscle development) consistent with an age well under

the age of majority. ”) (citing United States v. Edwards, 2012 U.S. Dist. LEXIS 129694, at *3

(D.N.H. Sept. 12, 2012) (probable cause existed where the affidavit described images as depicting



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“girls who appeared to [sic] underage, in that they appeared to be prepubescent” and “young girls

who had underdeveloped or no breasts and no pubic hair, in explicit poses”); United States v.

Barker, 2012 U.S. Dist. LEXIS 229, at *5 (D. Vt. Jan. 3, 2012) (probable cause existed where

affidavit described purported minors as “prepubescent,” “early pubescent,” and “early

adolescent”). 6 The description of the images in such specific terms by Trooper Hart provided a

substantial basis for the issuing state clerk magistrate to believe there was a fair probability that

evidence of child pornography would be found pursuant to the second warrant.

                                         CONCLUSION

        For all of the reasons outlined herein and in its previously filed Omnibus Response, the

government respectfully requests that this Court DENY the defendant’s Motion to Suppress

Evidence Seized Pursuant to Search Warrants and Motion for a Franks Hearing.




                                                      Respectfully Submitted,

                                                      ANDREW E. LELLING
                                                      United States Attorney

Date: October 22, 2019                        By:     /s/ Anne Paruti______________
                                                      Anne Paruti
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6
    The government incorporates herein its good-faith argument as set forth originally in its
    Omnibus Response.

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                                CERTIFICATE OF SERVICE

I, Anne Paruti, hereby certify that the foregoing was filed through the Electronic Court filing
system and will be sent electronically to the registered participants as identified on the Notice of
Electronic filing:


Date: October 22, 2019                               /s/ Anne Paruti_______________
                                                     Anne Paruti
                                                     Assistant United States Attorney




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